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4    Attorney for Defendant
     FRANK ALIOTO
5

6                          IN THE UNITED STATES MAGISTRATE COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA,                       )       No. CR-S-11-190 MCE
9                                                    )
                                                     )
10          Plaintiff,                               )       STIPULATION AND ORDER
                                                     )       EXTENDING TIME TO POST
11   v.                                              )       POST PROPERTY BOND
                                                     )
12                                                   )
     FRANK ALIOTO,
                                                     )
13                                                   )
            Defendant.                               )
14                                                   )
                                                     )
15                                                   )
16

17
            On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
18
     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
19
     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks. By stipulation, the due date for the bond documents was extended several times, most
21
     recently, to November 9, 2012.
22
            Initially, the Government needed time to review the documents. However, the
23
     Government completed its' review of the material and the Surety needed time to record the
24
     document(s) and bring them back to my office (so the document(s) can provide them to the
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     Court). Candidly, I lost track of where "we" were in the process and I failed to follow up with
26
     the Surety sooner. Consequently, I apologize for the tardy filing of this stipulation.
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1           I contacted the Surety immediately upon realizing the bond documents had not been filed.
2    The Surety agreed to record the document(s) forthwith and bring copies to my office.
3    Unfortunately, the Surety was confused and left the Recorder’s Office with a handful of
4    irrelevant documents and without recording the necessary document(s). The Surety has received
5    additional instruction and it is contemplated the Surety will bring copies of the recorded
6    document(s) to my office this week.
7           Accordingly the parties agree the deadline for posting the property bond may be extended
8    to January 28, 2013. This office has contacted Jason Hitt of the U.S. Attorney’s Office, and he
9    has no objection to this request.
10

11   Dated: January 14, 2013                              /s/ John R. Manning
                                                          JOHN R. MANNING
12                                                        Attorney for Defendant
                                                          Frank Alioto
13

14

15   Dated: January 14, 2013                              Benjamin B. Wagner
16
                                                          United States Attorney

17
                                                          by: /s/ Jason Hitt
18                                                        JASON HITT
19
                                                          Assistant United States Attorney

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                          IN THE UNITED STATES MAGISTRATE COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                        ) No. CR-S-11-190 MCE
10
                                                      )
                                                      )
            Plaintiff,                                ) ORDER EXTENDING
11
                                                      ) TIME TO POST PROPERTY BOND
     v.                                               )
12
                                                      )
     FRANK ALIOTO,                                    )
13
                                                      )
14
                                                      )
            Defendant.                                )
                                                      )
15
                                                      )
                                                      )
16

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18
            For good cause appearing, the due date for posting of a secured property bond in this
19
     matter shall be continued to January 28, 2013.
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21
     IT IS SO ORDERED.
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     Dated: January 15, 2013
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